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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA



    IN RE: ZANTAC (RANITIDINE)                                       MDL NO. 2924
    PRODUCTS LIABILITY                                                20-MD-2924
    LITIGATION
                                                    JUDGE ROBIN L. ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE E.
                                                                    REINHART
    _______________________________/

   THIS DOCUMENT RELATES TO: ALL ACTIONS



        STIPULATION CONCERNING CERTAIN POTENTIAL DEPONENTS OF
             GLAXOSMITHKLINE LLC and GLAXOSMITHKLINE PLC

         On the date entered below, Plaintiffs and Defendants GLAXOSMITHKLINE LLC

   and GLAXOSMITHKLINE PLC. (collectively “GSK”) came before the Court and

   stipulated as follows:

         WHEREAS Plaintiffs have sought the depositions of the following current and

   former employees of GSK:

         1.   Sir. Paul Girolami
         2.   Richard McIsaac
         3.   Jane Mills
         4.   Marty Reese
         5.   Alan Steigrod
         6.   Emma Walmsley

         WHEREAS GSK has located and produced to the Plaintiffs the custodial file of

   each deponent referenced above.




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          WHEREAS GSK has notified Plaintiffs that each deponent referenced above may

   not be available or capable of sitting for deposition.



          PLAINTIFFS and GSK hereby STIPULATE as follows:

          1. Plaintiffs will forego taking the depositions of Sir. Paul Girolami, Richard

             McIsaac, Jane Mills, Marty Reese, Alan Steigrod and Emma Walmsley;

          2. In exchange, all documents from the custodial files of Sir. Paul Girolami,

             Richard McIsaac, Jane Mills, Marty Reese, Alan Steigrod and Emma

             Walmsley, and all documents authored by, sent to, or copied to each of these

             individuals, shall be considered business records of GSK under Fed.R.Evid.

             803(6), and self-authenticated under Fed.R.Evid. 902, requiring no extrinsic

             evidence of authenticity in order to be admitted;

          3. The parties agree to reserve all objections concerning relevance and

             admissibility on grounds other than the business record exception (Rule

             803(6)) and authenticity (Rule 902) until the time of trial.

   Dated: October 25, 2021

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                                 CERTIFICATE OF SERVICE

          The undersigned herby certifies that a copy of the foregoing was served via

   electronic mail, on the 25th day of October, 2021 to all counsel.




                                                    /s/ Michael L. McGlamry
                                                    Michael L. McGlamry




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